                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        CRIMINAL NO. 3:15-CR-121-RJC-DSC


 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )                     ORDER
 v.                                               )
                                                  )
 CARLOS ALMONTE, et al.,                          )
                                                  )
                  Defendants.                     )



        THIS MATTER is before the Court sua sponte following a telephone discovery

conference with defense counsel and the Coordinating Discovery Attorney (“CDA”) on December

16, 2015. In his most recent Status Report (doc. 537), the CDA represents that the Government

has produced seven discs of wiretap data containing 31,000 calls and text messages. He further

represents that this material was produced without linesheets or any other corresponding

information. The CDA advises the Court that all 31,000 communications would have to be

reviewed to determine their relevance and value in the absence of this information. Based upon

the foregoing, the Court directs the Government to produce linesheets and metadata related to the

31,000 intercepts to the CDA forthwith. The Court also directs the Government to file a report

with the Court as to the status of its production of this material no later than January 7, 2016.


        The Clerk is directed to send copies of this Order to counsel for the parties, the

Coordinating Discovery Attorney, and to the Honorable Robert J. Conrad, Jr..


        SO ORDERED.




      Case 3:15-cr-00121-RJC-SCR           Document 557        Filed 12/17/15       Page 1 of 2
                      Signed: December 17, 2015




Case 3:15-cr-00121-RJC-SCR    Document 557        Filed 12/17/15   Page 2 of 2
